                                UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TENNESSEE
                                        AT KNOXVILLE



  ANDREW JOSTEN LOVINGOOD,

                    Plaintiff,
  v.
                                                                                   No. 3:19-cv-00009
  BILL JOHNSON, DERRICK GRAVES;
  And MONROE COUNTY, TENNESSEE;

                    Defendants.


                                  MOTION FOR SUMMARY JUDGMENT

           Comes the Defendant Monroe County, Tennessee by and through counsel, and

  respectfully moves the court pursuant to Fed. Rule Civ. Pro. 56 for the entry of an Order

  granting it summary judgment against Plaintiff, Andrew Lovingood. In support of this

  Motion, Defendant Monroe County, Tennessee submits a Concise Statement of Material

  Facts and a Memorandum of Facts and Law.

           WHEREFORE, Defendant Monroe County, Tennessee 1, respectfully requests that

  its Motion for Summary Judgment be granted.



           RESPECTFULLY SUBMITTED this 16th day of November, 2020.




  1
   Monroe County, Tennessee is the sole movant in the instant motion as it is anticipated that Plaintiff could present
  genuine issues of material fact which could prevent the entry of summary judgment and therefore Mr. Johnson not
  participating in the instant Motion. Defendant Graves is represented by other counsel.



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                                                     s/ Arthur F. Knight, III
                                                     Arthur F. Knight, III, BPR #016178
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 16, 2020, a copy of the foregoing was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be
  served by U.S. Mail. Parties may access this filing through the Court’s electronic filing
  system.


                                              s/Arthur F. Knight, III
                                              Arthur F. Knight, III




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